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 3 (916) 443-7141
 4 Attorney for defendant,
   RACHEL HOLMES
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 6
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                          EASTERN DISTRICT OF CALIFORNIA
 8
 9 UNITED STATES OF AMERICA,           )                   No. CRS 09 0026 GEB
                                       )
10             Plaintiff,              )                   STIPULATION AND
                                       )                   ORDER
11       v.                            )
                                       )
12                                     )                   Date: February 4, 2011
   RACHEL HOLMES,                      )                   Time: 9:00 a.m.
13                                     )                   Judge: Hon. Garland E.
               Defendant.              )                   Burrell, Jr.
14 ____________________________________)
15 The parties hereby stipulate to the following:
16     1.      A status conference in this matter is set for January 7, 2011 at 9:00 a.m.
17     2.      Additional time is needed to review discovery materials, to prepare
18             possible pretrial motions, to review evidence in the custody of federal
19             agents, and to meet with the client and government’s counsel. Both
20             parties, therefore, stipulate that the status conference be continued until
21             February 4, 2011.
22     3.      It is further stipulated by the parties that time continue to be excluded to
23             February 4, 2011 for preparation of counsel pursuant to local code T4. 18
24             U.S.C. 3161(h)(7)(B)(iv).
25     DATED: January 4, 2011                       /s/ Tim Warriner, Attorney for
                                                    Defendant RACHEL HOLMES
26
       DATED: January 4, 2011                       /s/ Daniel McConkie, Jr.
27                                                  Assistant U.S. Attorney
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 1
 2                                     ORDER
 3       GOOD CAUSE APPEARING, it is hereby ordered that the status conference
 4    set for January 7, 2011 be continued to February 4, 2011 at 9:00 a.m., and that
 5    time continue to be excluded to February 4, 2011, for preparation of counsel
 6    pursuant to Local Code T4, 18 U.S.C. 3161(h)(7)(B)(iv).
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 9                                GARLAND E. BURRELL, JR.
                                  United States District Judge
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